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             Exhibit 20
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
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                                       September 10, 2021

VIA ELECTRONIC MAIL

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       Re:     In re Facebook, Inc. Consumer Privacy User Profile,
               Northern District of California Case No. 3:18-md-02843-VC


Dear Counsel:

      At the mediators’ request, we send this message as a final attempt to avoid impasse on
Facebook’s production of the named plaintiffs’ data. We look forward to your response on
September 16.

        At its core, this case is about what “content and information” (Facebook’s term for data
and information as set forth in its own terms of service) Facebook took from Plaintiffs, what
Facebook told Plaintiffs it would do with their content and information and what Facebook
actually did with it. This includes, but is not limited to, sharing it with third parties, negligently
allowing third parties to take it and use it for improper purposes and failing to monitor third
parties’ use, which is precisely what occurred with Cambridge Analytica and Dr. Kogan, the
scandal that sparked these consolidated actions. Facebook asserts it disclosed all its practices as
to users’ content and information and that users consented to those practices. To test this
assertion, Plaintiffs need to understand whether Facebook’s actions matched the conduct
Facebook describes in its terms of service and privacy policies.
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        Plaintiffs opened discovery in this case with the modest request that Facebook describe
and identify the kinds of data it has collected on only the nine Named Plaintiffs, as opposed to
the hundreds of millions of class members in this action. We have simply asked: what did
Facebook collect about users and what did it do with it? RFP No. 9 seeks all documents
Facebook has relating to the Named Plaintiffs, including the content and information collected
about each of them.. RFP No. 10 seeks documents sufficient to identify the categories of
“content and information” Facebook collects, tracks, and maintains about each Named
Plaintiff. It has been Plaintiffs’ hope that this modest request could serve as a road map for
class-wide discovery.

        In Discovery Order No. 9, Judge Corley agreed. She identified the proper scope of
discovery related to the data Facebook accumulates about the Named Plaintiffs as: (1) data
collected from a user’s on-platform activity; (2) data obtained from third parties regarding a
user’s off-platform activity; and (3) data inferred from a user’s on- or off-platform
activity. Dkt. No. 557.

        To date, Facebook has not produced data from categories 2 or 3. Such a production
would include Facebook’s profiles of the Named Plaintiffs, and data Facebook acquires through
its agreements with business partners, including data it bought and sold about Named Plaintiffs
from data brokers in the heart of the Class Period. The parties have conferred and
communicated at length about this issue, both before and after Judge Corley’s order.

        Instead, Facebook continues to limit discovery to category 1. Facebook has repeatedly
told Plaintiffs it has “produced the information contained in the DYI file for each of the Named
Plaintiffs, plus certain additional information (such as a spreadsheet containing data tracking
how Plaintiffs adjusted their Facebook privacy settings).” E.g., Apr. 1, 2021 letter at 2
(attached). The external tool that Facebook created to share with Plaintiffs some small subset of
the information Facebook collects about them does not meet the scope of discovery Judge
Corley identified or even address the heart of Plaintiffs’ claims in this case. Plaintiffs know
what they shared on the platform. But Plaintiffs do not know what Facebook collects, infers,
embeds and tracks to create data sets about the Plaintiffs. Plaintiffs want to see those data sets
and they want to know how Facebook uses them. Plaintiffs can then compare those actions to
Facebook’s disclosures and the parties can have a meaningful dialogue about the scope of
consent.

       Because of Facebook’s secrecy and refusal to be transparent, there is a significant
information asymmetry. Thus, it is impossible for Plaintiffs to identify with specificity the full
scope of information Facebook has not produced about the Named Plaintiffs. But some internal
Facebook documents give a clue to the types of information it collects about users. For
example, Dep. Ex. 3 (attached) defines three broad categories of data Facebook “receive[s]
about people”: native data, appended data, and behavioral data. See Ex. 3 at FB-CA-MDL-
00213424. For those types of data, Facebook identifies categories of data it explicitly collects,
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implicitly collects, and infers. It appears that the Named Plaintiffs’ data Facebook has produced
is limited to information in the explicit collection category: profile information; posts, likes,
shares; and location (checkins). Facebook has not produced all of the Named Plaintiffs’ data it
implicitly collects—                                                                  . And
Facebook has not produced the Named Plaintiffs’ data it infers—




                         Nor has Facebook disclosed the extent to which it shares or makes
accessible some or all of this data to third parties and what it does to monitor third parties’ use
of it.

       The document at Bates No. FB-CA-MDL-00178902 provides further insight into the
types of information Facebook collects about its users that it has not produced (limited to the
Named Plaintiffs) here. Summarizing the value proposition of being able to read data from
Facebook’s platform, Sam Lessin writes:


     Among the data Lessin says Facebook has about each user is



                                                             While the context for these
descriptions is
                                           the descriptions quoted above reflect the data
Facebook actually collects on its users. Facebook has not produced aggregated data about the
Named Plaintiffs’ friends, derived data about the Named Plaintiffs, Facebook’s opinions of the
Named Plaintiffs, or data provided by third parties to the graph about the Named Plaintiffs.

       Facebook’s patents also lend a clue into the kinds of data collects. For example,
Facebook holds a patent titled “Determining user Personality Characteristics From Socia
Network System Communications and Characteristics” (U.S. Patent No. 9740752), which can
be used to identify personality characteristics (e.g., extroversion, agreeableness,
conscientiousness, emotional stability, and openness), which can be targeted by marketers on
Facebook. Another patent, “Receiving Information About a User from a Third Party
Application Based On Action Types” describes how “linguistic data and non-linguistic data
associated with the user” are used “in a trained model to predict one or more personality
characteristics for the user.” These “inferred personality characteristics are stored in connection
with the user’s provide, and may be used for targeting, ranking, selecting versions of products,
and various other purposes.” (U.S. Patent 8732802B2 at 2). Examples of personality
characteristics include: “extroversion, agreeableness, conscientiousness, emotional stability, and
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openness.” The patent further explains that “[e]ach user of the social networking system is
associated with a user profile, which is stored in the user profile store. A user profile includes
declarative information about the user that was explicitly shared by the user, and may also
include profile information inferred by the social networking system. In one embodiment, a user
profile includes multiple data fields, each field describing one or more attributes of the
corresponding user of the social networking systems.” Each of these patents identify the types
of information about Facebook users, including the Named Plaintiffs, that Plaintiffs have sought
but which Facebook has not yet produced. These references are not intended to be complete.
Rather, they are only included for the purpose of providing examples of Facebook
acknowledging the existence of some aspects of the data Plaintiffs seek.

        If Facebook will not make a complete production of all data it has collected about these
nine people, Facebook must identify what it is withholding and why. And even if Facebook
does make a complete production, the parties must confer in advance of the production in order
to agree on the form of those productions, given the complexities with the kinds of data
collected, inferred, aggregated and used.


                                                      Regards,




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 ATTACHMENT A
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   From:                              Simone LiTrenta </O=THEFACEBOOK/OU = EXCHANGE ADMINISTRATIVE GROUP
                                      (FYDIBOH F23SPDLT)/CN = RECIPIENTS/CN =SIMON EL0S1>
   Sent:                              Thursday, May 08, 2014 4:34 PM
   To:                                Matt Scutari; Rob Sherman; Emily Sharpe; Emily Vacher; Maritza Johnson; Travis Bright
   Cc:                                Erin Egan
   Subject:                           Offsite presentation
   Attachments:                       Combined papers.docx



   Hey, all. Attached is the combined doc of privacy team papers that Marne will be sending out with the rest of global
   policy team papers.


   Now on to the slide deck©. If someone has started slides already and can share the format with the group so we can
   make the look and feel uniform, that would be great. If someone is aPPT genius and wants to take the lead on
   combining finished slides into one deck and making minor changes, let me know. Otherwise, please save your slides to
   the folder for slides and Ican combine.


   https:j/www.dropbox.com/shjhquhjwozldr3qty/AADBwXtmeiNZJ RBZR6-xj1g1a


   Erin would like to review the slide on the plane Monday morning. If everyone can finish their slides by COB
   Friday/Saturday, Ican get them to her Sunday night.


   If you would like to discuss your slides with Erin, please let me know ASAP and Iwill find time manana.


   Simone




                                                               1




Confidential                                                                                                 FB-CA-MDL-0021 3423
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  ATTACHMENT B




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